Case 2:04-cV-02616-SHI\/|-tmp Document 25 Filed 05/02/05 Page 1 of 3 Page|D 35

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FoR THE wEsTERN olsTRlcT oF TENNEssEE 05 r'-z_:; y -? m
wEsTERN oivisloN "

RENATA SE|FERT and
HORST SE|FERT,

Plaintiffs,
0 q~ aero MP
Vs. No. 04-2336-BP
LAS|K VlSlON |NST|TUTE, C|ass Action
Ju[y Tria| Demanded
Defendant.

RENATA SE|FERT and
HORST SE|FERT,

Plaintiffs,
Vs.
N|USA HOLD|NGS, |NC.; LASER VlSlON
|NST|TUTE DIBIA LAS|K VlSlON |NST|TUTE;
DAV|D S. MURPH¥, M.D.,

Defendants.

 

ORDER AMEND|NG SCHEDUL|NG ORDER

 

This matter came onto be heard upon the joint motion of the parties to amend the
Schedu|ing Order, for good cause shown, and upon the entire record in the cause from a||
of Which the Court finds that said motion is We|i taken and the foliowing deadlines are
hereby established:

1. Discovery related to the issue of class certification and Whether the Ru|e 23

requirements are metz June 10, 2005

This document entered on the docket sheet in compliance
- - ’\6
with P.uis 58 and/or 79(a) FHCP on . 1

 

Case 2:04-cv-O2616-SH|\/|-tmp Document 25 Filed 05/02/05 Page 2 of 3 Page|D 36

2. Dead|ine for P|aintiffs to file motion for class certification.' Ju|y 10, 2005

3. Dead|ine for Defendants to respond to class certification: August 10, 2005

|TSOORDERED,ADJUDGEDAND DECREEDthiSthe f dayof [MV_ ,

2005. ` (M ,P&/\

Tu rvi. PHAr\/i
United States i\/lagistrate Judge

 

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This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-026]6 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

